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                        UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY
                                                                                  Order Filed on December
                                                                                  17, 2021
  GENOVA BURNS LLC                                                                by Clerk
                                               BROWN RUDNI       byCK   LL
                                                                    ClerkP        U.S. Bankruptcy Court
  Daniel M. Stolz, Esq.
                                               David J. Molton, sq.               District of New Jersey
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  Committee of Talc Claimants                  Fax: (212) 209-4801

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  Committee of Talc Claimants                  Fax: (212) 682-6104
                                               Proposed Co-Counsel for the Official
                                               Committee of Talc Claimants




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           Proposed Special Counsel to the Official
           Committee of Talc Claimants


                                                                   Chapter 11

           In re:                                                  Case No.: 21-30589(MBK)

           LTL MANAGEMENT, LLC,                                    Honorable Michael B. Kaplan

                                            Debtor.



                                        REVISED
           ORDER AUTHORIZING AND APPROVING THE RETENTION AND EMPLOYMENT
           OF BAILEY & GLASSER LLP AS CO-COUNSEL TO THE OFFICIAL COMMITTEE
                  OF TALC CLAIMANTS, EFFECTIVE AS OF NOVEMBER 11, 2021


                      The relief set forth on the following pages is hereby ORDERED.




DATE: December 17, 2021




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             Upon consideration of the Amended Application of the Official Committee of Talc

 Claimants to Retain and Employ Bailey & Glasser LLP as Co-Lead Counsel Effective as of

 November 11, 2021 (the “Application”),1 pursuant to sections 328 and 1103(a) of title 11 of the

 United States Code (the “Bankruptcy Code”), Rule 2014 of the Federal Rules of Bankruptcy

 Procedure (the “Bankruptcy Rules”), and Local Rule 2014-1 of the Rules of the United States

 Bankruptcy Court for the District of New Jersey (the “Local Rules”), authorizing and approving

 the employment of Bailey & Glasser LLP (“Bailey Glasser”) as co-lead counsel to the Official

 Committee of Talc Claimants (the “Committee”) appointed in the above-captioned bankruptcy

 case (the “Case”) of LTL Management LLC’s (the “Debtor”), effective as of November 11, 2021;

 and the declarations of Thomas B. Bennett in support of the Application annexed thereto; and the

 Court having jurisdiction to consider the Application and the relief requested therein being a core

 proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that the relief requested in the

 Application is in the best interests of the Debtor’s estate, its creditors and other parties in interest;

 and the Committee having provided adequate and appropriate notice of the Application under the

 circumstances; and after due deliberation and good and sufficient cause appearing therefor,

             IT IS HEREBY ORDERED THAT:

             1.      The Application is GRANTED as set forth herein.

             2.      The Committee is authorized pursuant to sections 328(a) and 1103(a) of the

 Bankruptcy Code to retain and employ Bailey Glasser as co-lead counsel to the Committee

 effective as of November 11, 2021.




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     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.

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             3.   Bailey Glasser shall apply for compensation for professional services rendered and

 reimbursement of expenses incurred in connection with the Case as set forth in the Application

 and in compliance with the applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,

 the Local Rules, and any other applicable procedures or orders of this Court.

             4.   The Committee and Bailey Glasser are authorized and empowered to take all

 actions necessary to implement the relief granted in this Order.

             5.   The Court shall retain jurisdiction to hear and determine all matters arising from

 the implementation of this Order.

             6.   Notwithstanding any provision in the Bankruptcy Rules to the contrary, this Order

 shall be immediately effective and enforceable upon its entry.

             7.   Further terms of this Order are as follows:

                  (i)     Bailey Glasser will only bill 50% for non-working travel and shall not seek
                          the reimbursement of any fees or costs, including attorney fees and costs,
                          arising from the defense of any of Bailey Glasser’s fee applications in this
                          case;

                  (ii)    Bailey Glasser will agree to make a reasonable effort to comply with the
                          U.S. Trustee’s requests for information and additional disclosures as set
                          forth in the Guidelines for Reviewing Applications for Compensation and
                          Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in
                          Larger Chapter 11 Cases Effective as of November 1, 2013 (the “U.S.
                          Trustee Guidelines”);

                  (iii)   Bailey Glasser will use the billing and expense categories set forth in the
                          US Trustee Guidelines (Exhibit D-1 “Summary of Compensation
                          Requested by Project Category);

                  (iv)    Bailey Glasser will provide any and all monthly fee statements, interim fee
                          applications, and final fee applications in “LEDES” format to the United
                          States Trustee; and

                  (v)     any and all compensation to be paid to Bailey Glasser for services rendered
                          on the Talc Committee’s behalf shall be fixed by application to this Court
                          in accordance with Sections 330 and 331 of the Bankruptcy Code, such
                          Federal Rules and Local Rules as may then be applicable, and any orders


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                    entered in this case governing the compensation and reimbursement of
                    professionals for services rendered and charges and disbursements incurred.




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